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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY

   FORMAN HOLT
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   Rochelle Park, NJ 07662
   (201) 845-1000
   Attorneys for Charles M. Forman,
   Chapter 7 Trustee
   Kimberly J. Salomon, Esq.
   ksalomon@formanlaw.com

   In Re:                                                       Case No.: 17-32231 (VFP)

   CALYPSO ST. BARTH, INC.,                                     Chapter:    7

                                Debtor.                         Judge: Hon. Vincent F. Papalia



   CHARLES M. FORMAN, Chapter 7 Trustee for                     Adv. Pro. No. 22-
   Calypso St. Barth, Inc.,

                                Plaintiff,

   v.

   MONSERAT DE LUCCA, INC., SALVATORE LIGA
   & COMPANY, PLLC, SALVATORE J. LIGA, ESQ.,
   and THE STATE OF NEW YORK, OFFICE OF THE
   STATE COMPTROLLER, OFFICE OF UNCLAIMED
   FUNDS,

                                Defendants.



                 COMPLAINT TO RECOVER PROPERTY OF THE ESTATE
                   AND FOR VIOLATIONS OF THE AUTOMATIC STAY

          Plaintiff, Charles M. Forman (“Plaintiff”), the chapter 7 trustee for the estate of Calypso

St. Barth, Inc. (the “Debtor”), through his attorneys, Forman Holt, as and for his Complaint against

the defendants, Monserat De Lucca, Inc., Salvatore J. Liga, Esq, Salvatore Liga & Company,




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PLLC, and the State of New York, Office of the State Comptroller, Office of Unclaimed Funds

(collectively, the “Defendants”), alleges as follows:

                                     I.      THE PARTIES

          1.   Plaintiff, Charles M. Forman, is the chapter 7 trustee for the estate of Calypso St.

Barth, Inc. and has an address of 365 West Passaic Street, Rochelle Park, New Jersey 07652.

          2.   Defendant Monserat De Lucca, Inc. (“Monserat De Lucca”) is a California

corporation and has a principal address of 658 Hill Street, Santa Monica, CA 90405.

          3.   Defendants Salvatore J. Liga, Esq. and Salvatore Liga & Company, PLLC are

attorneys for defendant Monserat De Lucca and have an address of 16 Fuller Road, Ossining, New

York 10562.

          4.   Defendant State of New York, Office of the State Comptroller, Office of Unclaimed

Funds (“State of New York”) has an address of 110 State Street, Albany, New York 12236.

                              II.     FACTUAL BACKGROUND

          5.   On September 26, 2017, judgment was entered in the amount of $33,404.42 (the

“Judgment”) in favor of Monserat De Lucca and against the Debtor in the Supreme Court for the

State of New York, County of Queens, Monserat De Luca v. Calypso St. Barth, Inc. (Index No.

706771-17).

          6.   On November 1, 2017 (the “Petition Date”), an involuntary bankruptcy petition was

filed against the Debtor under chapter 7 of title 11 of the United States Code, 11 U.S.C. §101 et

seq. in the United States Bankruptcy Court for the District of New Jersey.

          7.   On November 13, 2017, this Court entered an order for relief against the Debtor.

          8.   On November 13, 2017, the Plaintiff was appointed to serve as the chapter 7 trustee

for the Debtor’s estate.



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          9.    On November 15, 2017, the Debtor provided the Plaintiff with a list of its creditors,

which included Monserat De Lucca.

          10.   On January 11, 2018, the Plaintiff filed a List of Unsecured Creditors (Schedules

E/F) on behalf of the Debtor. Monserat De Lucca was listed as a creditor on Schedule F. Monserat

De Lucca was also listed on the Creditors’ Mailing Matrix. [Docket No. 123].

          11.   On January 12, 2018, the Plaintiff filed a Notice of Assets and a request for the

Clerk of the Court to fix a deadline for creditors to file proofs of claim. [Docket No. 128].   The

Clerk of the Court established April 12, 2018 (the “Bar Date”) as the deadline for creditors to file

claims against the Debtor’s estate.

          12.   On January 14, 2018, the Clerk of the Court served the Notice of Assets and

Deadline to File Proof of Claim on all creditors, including Monserat De Lucca. [Docket No. 131].

          13.   Monserat De Lucca never filed a proof of claim in the Debtor’s case.

          14.   Monserat De Lucca never filed a motion for relief from the automatic stay in the

Debtor’s bankruptcy case to enforce or pursue collection of the Judgment.

          15.   On July 1, 2021, the Plaintiff submitted a claim to the State of New York requesting

the turnover of all unclaimed funds held by the State of New York on behalf of the Debtor.

          16.   On July 23, 2021, the State of New York responded to the Plaintiff by letter and

acknowledged that it had received and was processing the Plaintiff’s claim and request for turnover

of unclaimed funds.

          17.   On October 1, 2021, Monserat De Lucca, through its attorney, Salvatore J. Liga,

Esq. of Salvatore Liga & Company, PLLC, filed an Execution with Notice to Garnishee in the

Supreme Court of the State of New York, County of Queens, to enforce and collect the Judgment,

plus interest of $12,066.77, for a total of $45,471.19.



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          18.   On October 1, 2021, New York City Marshal Ronald Moses issued a Notice of

Levy and Sale to the State of New York, which levied upon and demanded the turnover of the

Debtor’s unclaimed funds in the possession of the State of New York, in furtherance of Monserat

De Lucca’s judgment collection efforts.

          19.   At no time did any party serve the Plaintiff with any notice of the execution or levy

as required by CPLR §5222(e).

          20.   On October 12, 2021, in response to the Notice of Levy and Sale, the State of New

York turned over the Debtor’s unclaimed funds, totaling $12,747.48 (the “Unclaimed Funds”), to

New York City Marshal Ronald Moses, via Check No. 72826323.

          21.   At no time did the State of New York provide notice to the Plaintiff of its receipt

of the Notice of Levy and Sale, its intent to disburse the Unclaimed Funds to any other party, or

of any competing interests in the Unclaimed Funds.

          22.   The State of New York disbursed the Unclaimed Funds despite having received

prior actual notice of the Debtor’s bankruptcy filing, the pending bankruptcy case, and the

Plaintiff’s interest in the Unclaimed Funds.

          23.   On April 11, 2022, the Plaintiff sent a letter to Salvatore J. Liga, Esq. informing

him that the collection of the Unclaimed Funds violated the automatic stay and demanding the

turnover of the Unclaimed Funds. The Plaintiff did not receive a response to his letter.

                                     III.      JURISDICTION

          24.   This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§

157 and 1334 and 11 U.S.C. §§105, 362, 541 and 542.

          25.   This matter is a core proceeding pursuant to 28 U.S.C. § 157(b) (A), (E), and (O).

          26.   This adversary proceeding arises under the United States Bankruptcy Code, 11



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U.S.C. §101 et seq. (the “Bankruptcy Code”) and arises in and relates to a chapter 7 case pending

in this District. Accordingly, venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409.

                                            COUNT ONE
          (Monserat De Lucca, Salvatore J. Liga, Esq. and Salvatore Liga & Company, PLLC
                              - For Turnover of Property of the Estate)

          27.   Plaintiff repeats and realleges the allegations contained in the prior paragraphs of

this Complaint as if set forth at length herein.

          28.   The Unclaimed Funds consist of property in which the Debtor had a legal or

equitable interest as of the commencement of this case.

          29.   The Unclaimed Funds are property of the estate under 11 U.S.C. §541(a)(1).

          30.   Upon information and belief, defendants Monserat De Lucca, Salvatore J. Liga,

Esq. and Salvatore Liga & Company, PLLC are in possession, custody or control of the Unclaimed

Funds.

          31.   The Unclaimed Funds constitute property that the Plaintiff may use, sell or lease

under section 363 of the Bankruptcy Code, are not exempt, and are not of inconsequential value.

          32.   Monserat De Lucca, Salvatore J. Liga, Esq. and Salvatore Liga & Company, PLLC

are required to turn over the Unclaimed Funds to the Plaintiff pursuant to 11 U.S.C. §542(a).

          WHEREFORE, the Plaintiff demands judgment against Defendants Monserat De Lucca,

Salvatore J. Liga, Esq. and Salvatore Liga & Company, PLLC, jointly and severally, on Count

One of this Complaint in the amount of $12,747.48, plus interest, attorneys’ fees and costs of suit,

and such other relief as is just and proper.




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                                        COUNT TWO
          (Monserat De Lucca, Salvatore J. Liga, Esq. and Salvatore Liga & Company, PLLC
                               - For Violations of the Automatic Stay)

          33.   Plaintiff repeats and realleges the allegations contained in the prior paragraphs of

this Complaint as if set forth at length herein.

          34.   The Judgment was obtained before the commencement of this case.

          35.   Collection or enforcement of the Judgment against the Debtor is stayed under 11

U.S.C. §362(a)(2).

          36.   Any act to obtain possession of property of the estate or of property from the estate

or to exercise control over property of the estate is stayed under 11 U.S.C. §362(a)(3).

          37.   Any act to collect, assess, or recover a claim against the Debtor that arose before

the commencement of the case is stayed under 11 U.S.C. §362(a)(6).

          38.   At no time during the pendency of this case did Defendants Monserat De Lucca,

Salvatore J. Liga, Esq. and Salvatore Liga & Company, PLLC request relief from the automatic

stay under 11 U.S.C. §362(d).

          39.   At no time during this case did this Court grant relief from the automatic stay to

Defendants Monserat De Lucca, Salvatore J. Liga, Esq. and Salvatore Liga & Company, PLLC.

          40.   By pursuing collection and enforcement of the Judgment, Defendants Monserat De

Lucca, Salvatore J. Liga, Esq. and Salvatore Liga & Company, PLLC willfully violated the

automatic stay provisions of 11 U.S.C. §362(a).

          41.   By collecting the Unclaimed Funds, Defendants Monserat De Lucca, Salvatore J.

Liga, Esq. and Salvatore Liga & Company, PLLC willfully violated the automatic stay provisions

of 11 U.S.C. §362(a).




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          42.    The Plaintiff is entitled to recover actual damages, including costs and attorneys’

fees, and punitive damages under 11 U.S.C. §362(k)(1).

          WHEREFORE, the Plaintiff demands judgment against Defendants Monserat De Lucca,

Salvatore J. Liga, Esq. and Salvatore Liga & Company, PLLC, jointly and severally, on Count

Two of this Complaint in the amount of $12,747.48, plus interest, attorneys’ fees, costs of suit,

punitive damages, and such other relief as is just and proper.

                                         COUNT THREE
                    (State of New York – for Turnover of Property by a Custodian)

          43.   Plaintiff repeats and realleges the allegations contained in the prior paragraphs of

this Complaint as if set forth at length herein.

          44.   The State of New York was a custodian of the Debtor’s unclaimed funds pursuant

to McKinney’s Consolidated Laws of New York Annotated, Abandoned Property Law §101 et

seq.

          45.   The State of New York received actual notice of the Debtor’s bankruptcy filing and

the Plaintiff’s interest in the Unclaimed Funds on or about July 1, 2021.

          46.   The State of New York acknowledged receipt of the Plaintiff’s request for turnover

of the Unclaimed Funds on July 23, 2021.

          47.   Despite having actual knowledge of the Debtor’s bankruptcy filing and the

Plaintiff’s interest in the Unclaimed Funds, the State of New York disbursed the Unclaimed Funds

to the Debtor’s pre-petition creditor in violation of 11 U.S.C. §543(a).

          WHEREFORE, the Plaintiff demands judgment against the State of New York on Count

Three of this Complaint in the amount of $12,747.48, plus interest, attorneys’ fees, costs of suit,

and such other relief as is just and proper.




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                                         COUNT FOUR
                      (State of New York – for Violations of the Automatic Stay)

          48.   Plaintiff repeats and realleges the allegations contained in the prior paragraphs of

this Complaint as if set forth at length herein.

          49.   At no time did the State of New York request relief from the automatic stay under

11 U.S.C. §362(d).

          50.   At no time did this Court grant relief from the automatic stay to the State of New

York.

          51.   The disbursement of the Unclaimed Funds by the State of New York to the New

York City Marshal constitutes a willful violation of the automatic stay provisions of 11 U.S.C.

§362(a)(2), (3) and (6).

          52.   The Plaintiff is entitled to recover actual damages, including costs and attorneys’

fees, and punitive damages under 11 U.S.C. §362(k)(1).

          WHEREFORE, the Plaintiff demands judgment against the State of New York on Count

Four off this Complaint in the amount of $12,747.48, plus interest, attorneys’ fees, costs of suit,

punitive damages, and such other relief as is just and proper.

                                               FORMAN HOLT
                                               Attorneys for Plaintiff


Dated: May 10, 2022                    By:      /s/ Kimberly J. Salomon
                                               Kimberly J. Salomon, Esq.




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